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                                          ONIKA TANYA MIRAJ AND HARAJUKU BARBIE MUSIC, LLC
                                      8
                                      9                      UNITED STATES DISTRICT COURT
                                     10                     CENTRAL DISTRICT OF CALIFORNIA
                                     11
Gordon Rees Scully Mansukhani, LLP




                                     12
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                                          JULIUS JOHNSON, an individual,             ) CASE NO. 2:23-cv-05061-PA-
     San Francisco, CA 94111




                                                                                     ) AFM
                                     13                            Plaintiff,        )
                                                                                     ) ONIKA TANYA MIRAJ AND
                                     14          vs.                                 ) HARAJUKU BARBIE
                                     15   ONIKA TANYA MARAJ P/K/A NICK               ) MUSIC,
                                                                                       JOINDER
                                                                                                 LLC’S NOTICE OF
                                                                                                   TO MOTION TO
                                          MINAJ, in individual; UNIVERSAL MUSIC ) DISMISS FILED BY
                                     16   GROUP, INC., a Delaware corporation;       ) DEFENDANTS
                                          SONGS OF UNIVERSAL, INC., a                ) MICHAEL LEN WILLIAMS,
                                     17   California corporation; MICHAEL LEN        ) II; SOUNDS FROM
                                          WILLIAMS II, P/K/A MIKE WILL MADE ) EARDRUMMERS, LLC; W
                                     18   IT, an individual; KAZARION FOWLER         ) CHAPPELL MUSIC CORP
                                          PKA SKOOLY, an individual; MONEY           ) F/K/A WB MUSIC CORP.
                                     19   MACK MUSIC, INC., a Louisiana              )
                                          corporation; HARAJUKU BARBIE MUSIC, )
                                     20   LLC, a Delaware limited liability company; ) Honorable Percy Anderson
                                          ESTHER RENAY DEAN P/K/A ESTHER )
                                     21   DEAN, an individual; MARCUS BELL, an ) Date: December 11, 2023
                                          individual; SOUNDS FROM                    ) Time:  1:30 p.m.
                                     22   EARDRUMMERS LLC, a Georgia                   Place: Courtroom 9A
                                          Corporation; WB MUSIC CORP., a             )
                                     23   Delaware Corporation; DAT DAMN DEAN; )
                                          and DOES 1-10, inclusive.                  )
                                     24                                              )
                                                                   Defendants.       )
                                     25
                                     26
                                     27
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                                               NOTICE OF JOINDER BY ONIKA TANYA MIRAJ AND HARAJUKU BARBIE MUSIC, LLC
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                                      1         TO THE COURT, THE PARTIES, AND TO THEIR ATTORNEYS OF
                                      2   RECORD:
                                      3         PLEASE TAKE NOTICE THAT Defendants Onika Tanya Miraj and
                                      4   Harajuku Barbie Music, LLC (“Joining Defendants”) hereby move to join in
                                      5   Defendants Michael Len Williams, II; Sounds From Eardrummers, LLC; W
                                      6   Chappell Music Corp f/k/a WB Music Corp. (“Moving Defendants”)’s Motion to
                                      7   Dismiss Plaintiff’s First Amended Complaint filed in the above-entitled action on
                                      8   November 13, 2023 (ECF No. 54.)
                                      9         Joining Defendants move to join in each argument asserted by Moving
                                     10   Defendants in their motion to dismiss, all of which apply equally to Joining
                                     11   Defendants: (1) The complaint is an impermissible “shotgun pleading” in violation
Gordon Rees Scully Mansukhani, LLP




                                     12   of Fed. R. Civ. P. 8; (2) The complaint improperly alleges direct, vicarious, and
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     San Francisco, CA 94111




                                     13   contributory copyright infringement against all Defendants; (3) The complaint fails
                                     14   to plausibly allege direct infringement due to (a) failure to allege copying; (b)
                                     15   failure to comply with 17 U.S.C. § 411 for the alleged musical composition; (c)
                                     16   failure to allege access; and (d) failure to allege striking similarity; (4); The
                                     17   complaint fails to allege conversion; and (5) The complaint fails to allege unfair
                                     18   competition
                                     19         For the reasons identified by Moving Defendants in the motion to dismiss,
                                     20   the Complaint should be dismissed in its entirety with prejudice as to Joining
                                     21   Defendants.
                                     22   Dated: November 13, 2023                  GORDON REES SCULLY
                                                                                    MANSUKHANI, LLP
                                     23
                                     24                                             By: /s/ Susan B. Meyer
                                     25                                                 Mark S. Posard
                                                                                        Susan B. Meyer
                                     26                                                 Attorneys for Defendants
                                     27                                                 Onika Tanya Miraj and Harajuku
                                                                                        Barbie Music, LLC
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                                                NOTICE OF JOINDER BY ONIKA TANYA MIRAJ AND HARAJUKU BARBIE MUSIC, LLC
